Case 1:22-cv-00704-HYJ-RSK   ECF No. 24-1, PageID.704   Filed 08/11/23   Page 1 of
                                      12




                       Exhibit 1
            (Second Amended Proposed Protective Order)
Case 1:22-cv-00704-HYJ-RSK      ECF No. 24-1, PageID.705      Filed 08/11/23   Page 2 of
                                         12




                    UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN

 MATTHEW KOTILA, individually and on             Case No. 1:22-cv-00704
 behalf of all others similarly situated,
                                                 Hon. Hala Y. Jarbou
        Plaintiff,
                                                 Mag. Ray Kent
 v.
 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,                                  CLASS ACTION

         Defendant.
      CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

       This Confidentiality Agreement & Protective Order (“Order”), set forth by

 Plaintiff through counsel, applies to documents produced as part of this litigation;

       WHEREAS, through this litigation, Plaintiff has sought and may seek certain

 discovery from certain parties or third parties (“Non-Party”), as provided by the

 Federal Rules of Civil Procedure, the Local Rules of this Court, (“Discovery

 Requests”); and to expedite the exchange of discovery materials, to facilitate the

 prompt resolution of disputes over confidentiality, and to protect discovery material

 entitled to be kept confidential, this Agreement provides as follows:

       1.     This Order applies to all information, documents and things exchanged

 in or subject to discovery in this litigation either by a Party or a Non-Party (each a

 “Producing Person”) in response to or in connection with any request for information

 or discovery related to the litigation, including deposition testimony (based upon

                                           1
Case 1:22-cv-00704-HYJ-RSK       ECF No. 24-1, PageID.706        Filed 08/11/23   Page 3 of
                                          12



 oral examination or written questions), interrogatories, answers to interrogatories,

 requests for admission, responses to requests for admission, documents and things

 produced (including documents and things produced to the receiving Party for

 inspection and documents and things provided to the receiving Party, whether in the

 form of originals or copies) as well as any and all copies, abstracts, digests, notes,

 summaries, studies, reports, illustrations, and excerpts thereof (collectively referred

 to as “Discovery Material”). A Party seeking documents from a Non-Party shall

 provide a copy of this Order to the Non-Party with a subpoena or any other request.

       2.      All Parties expressly agree to abide by the terms of this agreement even

 if not entered by the Court for any reason, unless the Court otherwise determines.

       3.     A Producing Person may designate Discovery Material as

 “Confidential” that includes information: (i) that has not been made public and that

 the Producing Person would not want to be made public in the ordinary course of its

 activities, including, but not limited to, trade secret, proprietary, technical, business,

 financial, personal, or any other commercial information or other information of a

 nature that can be protected under Federal Rule of Civil Procedure 26(c); (ii) that

 reveals an individual’s personal identity information; (iii) that is prohibited from

 disclosure by statute; or (iv) that the Producing Person is under a preexisting

 obligation to a third-party to treat as confidential. Confidential Discovery Material

 includes all copies of such materials delivered to or maintained by the receiving


                                             2
Case 1:22-cv-00704-HYJ-RSK      ECF No. 24-1, PageID.707       Filed 08/11/23   Page 4 of
                                         12



 Party, their counsel and experts, as well as all other materials or communications

 that reveal or incorporate such Confidential Discovery Material.

       4.     Confidential Discovery Material shall be designated by the Producing

 Person by marking every such page “CONFIDENTIAL.” For certain native file

 documents, a Producing Person may designate material as “Confidential” by cover

 letter describing such Confidential information and labeling such media accordingly.

       5.     Discovery Material, including Confidential Discovery Material, may

 be used solely for the prosecution, defense or settlement of this litigation and shall

 not be used by any other Party, other than the Party that produced it, in any other

 proceeding, for business, competitive, or publicity purposes, or for any other

 purpose whatsoever.

       6.     Confidential Discovery Material shall be made available or

 communicated only to:

         a. Parties, their insurers, counsel to their insurers, and outside counsel and
            staff working under the express direction of the Parties;
         b. inside counsel for Defendant and its staff;
         c. the Court overseeing this litigation, and its officers and clerical staff;
         d. experts and consultants (and their respective staff) that are retained in
            connection with this litigation;
         e. any person who is indicated on the face of a document to have been an
            author, addressee or copy recipient thereof;
         f. any deponent or witness during or in preparation for his or her noticed
            deposition, hearing or trial testimony where such Confidential Discovery
            Material is determined by counsel in good faith to be necessary to the
            anticipated subject matter of testimony, provided, however that such
            Confidential Discovery Material can only be shared with such person in
            connection with preparation for the anticipated testimony;
                                           3
Case 1:22-cv-00704-HYJ-RSK      ECF No. 24-1, PageID.708       Filed 08/11/23   Page 5 of
                                         12



         g. outside photocopying, graphic production or litigation support services;
         h. court reporters, stenographers, or videographers who record deposition
            or other testimony in the litigation; and
         i. any other person or entity with respect to whom the Producing Person
            may consent in writing.

       7.     Before any individual identified in Paragraph 6(d) through 6(i) is given

 access to Confidential Discovery Material, he or she shall acknowledge in writing

 on the form provided as Exhibit A hereto that he or she read the Order and agrees

 to be bound by its terms. The Party providing access to the Confidential Discovery

 Material shall retain copies of the signed acknowledgement.

       8.     Consistent with the requirements of L.R. 10.6, any Party wishing to

 use Confidential Discovery Material in a filing must seek permission by the Court

 to file such material under seal. The Party must notify the Designating Party and

 any other Party with an interest in preserving the confidentiality of the Confidential

 Discovery Material, provide them with the opportunity to propose redactions to the

 Confidential Discovery Material, and include such proposed redactions in its

 motion to seal. Where possible, only those portions of filings with the Court that

 disclose Confidential Discovery Material shall be filed under seal.

       9.     Prior to using Confidential Discovery Material at trial or in open court,

 counsel for the Party seeking to use such material shall meet and confer with the

 Producing Person to discuss ways to redact or limit disclosure of the Confidential

 Discovery Material so that the material may used by any Party.


                                           4
Case 1:22-cv-00704-HYJ-RSK      ECF No. 24-1, PageID.709       Filed 08/11/23   Page 6 of
                                         12



       10.    If counsel for a Party or Non-Party believes that deposition testimony

 constitutes Confidential Discovery Material, counsel shall so state on the record

 and request that the entire transcript or the relevant portion of testimony be sealed.

 Each page of the transcript containing information designated as Confidential shall

 include the legend “Confidential.” Also, any Party or Non-Party may designate the

 transcript or videotape of a deposition as Confidential within 7 court days of its

 receipt of the final transcript by identifying to the court reporter the portion(s) of

 the transcript that constitute Confidential Discovery Material. Nothing in this

 paragraph shall affect the confidentiality designations of documents entered as

 exhibits for depositions.

       11.    To the extent any Discovery Material (including, e.g., Confidential

 Discovery Material) includes information the disclosure of which could be deemed

 to be a violation of the Michigan Video Rental Privacy Act (the “PPPA”), M.C.L.

 § 445.1711, et seq., this Order shall serve as a “court order” within the meaning of

 Section 3(b) of the PPPA permitting such information to be disclosed.

       12.    This Order shall survive the final termination of the litigation for any

 retained Discovery Material. Within 60 days after dismissal or entry of final

 judgment not subject to further appeal, all Discovery Material other than material

 contained in pleadings, correspondence, work product, and deposition transcripts

 shall be returned to the Producing Party or destroyed. Copies of Discovery Material


                                           5
Case 1:22-cv-00704-HYJ-RSK      ECF No. 24-1, PageID.710      Filed 08/11/23   Page 7 of
                                         12



 furnished to any expert or other third party shall likewise be returned or destroyed.

       13.    Any document, material, or information supplied by a third party may

 be designated by the third party or any Party as Confidential pursuant to this Order.

       14.    If a Party or its counsel inadvertently disclose Confidential Discovery

 Material to persons who are not authorized to use or possess the Confidential

 Discovery Material, that Party shall (i) provide prompt written notice of the

 disclosure to the Designating Party upon learning of its inadvertent disclosure; and

 (ii) seek the immediate return of the Confidential Discovery Material from the

 unauthorized party in possession of it.

       15.    Any Party objecting to a Confidential designation (“Objecting Party”)

 shall notify the Designating Party in writing of its objection. The Objecting Party

 must confer directly with counsel for the Designating Party, explain the basis for

 its challenge, and provide the Designating Party an opportunity to review the

 designated material and evaluate the Objecting Party’s challenge. The Designating

 Party must respond to the challenge within ten (10) days of the meet and confer.

       16.    If no resolution is reached, the Objecting Party may file and serve a

 motion that identifies the challenged material and sets forth in detail the basis for

 the challenge. All Parties shall continue to treat the challenged material as

 Confidential until the court decides the Objecting Party’s motion. The Designating

 Party may argue for limits on the use or manner of dissemination of Discovery


                                           6
Case 1:22-cv-00704-HYJ-RSK       ECF No. 24-1, PageID.711      Filed 08/11/23    Page 8 of
                                          12



 Materials found to be no longer be Confidential.

       17.    Any person subject to this Order that is subject to a motion or other

 form of legal process or regulatory process seeking the disclosure of another Party’s

 or Non-Party’s Confidential Discovery Material: (i) shall promptly notify that Party

 or Non-Party; (ii) shall not provide such materials without the consent of that Party,

 unless required by law or regulation; (iii) shall cooperate with that Party to prevent

 the unauthorized production of documents.

       18.    A Producing Party does not waive the right to assert Confidential

 treatment over Discovery Material that it fails to designate as Confidential at the

 time of production. If such Discovery Material was filed with the court prior to the

 Confidential designation, the Party that failed to make the designation may move

 for relief. If an omitted Confidential designation is first claimed during a deposition

 or hearing, the subject Discovery Material shall be treated as Confidential.

       19.    Inadvertent production of Discovery Material subject to a claim of

 privilege or of protection as trial preparation material does not amount to a waiver

 of privilege or work-product immunity for such Discovery Material. If such

 Discovery Material is produced, the Producing Person may notify any Receiving

 Party that such Discovery Material is privileged and/or subject to work-product

 immunity. The Receiving Party must promptly return or destroy such Discovery

 Material (including all copies); must not use or disclose such Discovery Material


                                            7
Case 1:22-cv-00704-HYJ-RSK      ECF No. 24-1, PageID.712       Filed 08/11/23    Page 9 of
                                         12



 until the claim is resolved; and may promptly present the Discovery Material to the

 court under seal for a determination of the claim.

       20.    It is agreed that the Designating Party would not have an adequate

 remedy at law and would be entitled to specific performance, and/or injunctive

 relief, to prevent disclosure of personally identifiable information.

       21.    This Court will retain jurisdiction over all persons subject to this Order

 to the extent necessary to enforce any obligations arising hereunder or to impose

 sanctions for any contempt thereof.

 Dated: _________________, 2023
   SO ORDERED.

                                       UNITED STATES DISTRICT JUDGE
                                       Magistrate Judge Ray Kent




                                            8
Case 1:22-cv-00704-HYJ-RSK   ECF No. 24-1, PageID.713     Filed 08/11/23   Page 10
                                    of 12



                                         Agreed to by:

                                         /s/ E. Powell Miller
                                         E. Powell Miller
                                         THE MILLER LAW FIRM, P.C.
                                         950 W. Drive, Suite 300
                                         Rochester, MI 48307
                                         Tel: (248) 841-2200
                                         epm@millerlawpc.com

                                         Joseph I. Marchese
                                         Philip L. Fraietta
                                         BURSOR & FISHER, P.A.
                                         888 Seventh Avenue
                                         New York, NY 10019
                                         Tel: (212) 989-9113
                                         jmarchese@bursor.com
                                         pfraietta@bursor.com

                                         Frank S. Hedin
                                         David W. Wall
                                         HEDIN HALL LLP
                                         1395 Brickell Avenue, Suite 1140
                                         Miami, FL 33131
                                         Tel: (305) 357-2107
                                         fhedin@hedinhall.com
                                         dhall@hedinhall.com

                                         Attorneys for Plaintiff and Putative Class




                                     9
Case 1:22-cv-00704-HYJ-RSK     ECF No. 24-1, PageID.714     Filed 08/11/23   Page 11
                                      of 12



                   Exhibit A

    DECLARATION OF ACKNOWLEDGEMENT AND AGREEMENT
    TO BE BOUND BY THE CONFIDENTIALITY AGREEMENT AND
    PROTECTIVE ORDER


      I, _______________________________ declare under penalty of perjury that:

      1.    My address is

_____________________________________________________

      2.    My present employer is

______________________________________________

      3.    My present occupation or job description is

__________________________________________________________________

______________________________________

      4.    I hereby certify and agree that I have read and understand the terms of

the Protective Order relating to the litigation between Matthew Kotila and Charter

Financial Publishing Network, Inc. I further certify that I will not use

“Confidential” information for any purpose other than this litigation, and will not

disclose or cause “Confidential” information to be disclosed to anyone not

expressly permitted by the Order to receive “Confidential,” as applicable,

information. I agree to be bound by the terms and conditions of the Order.

      5.    I understand that I am to retain in confidence from all individuals not

expressly permitted to receive information designated as “Confidential,” whether

                                         1
Case 1:22-cv-00704-HYJ-RSK      ECF No. 24-1, PageID.715      Filed 08/11/23   Page 12
                                       of 12



at home or at work, all copies of any materials I receive which have been designated

as “Confidential,” and that I will carefully maintain such materials in a container,

drawer, room or other safe place in a manner consistent with the Order.              I

acknowledge that the return or destruction of “Confidential” material shall not

relieve me from any other continuing obligations imposed upon me by the Order.

      6.      I acknowledge and agree that I am aware that by receiving materials

designated “Confidential” (a) I may be receiving material non-public information

about companies and (b) there exists laws, including federal securities laws, that

may restrict or eliminate the sale or purchase of securities and debt of the such

companies as a result of the receipt of such information.

      7.      I stipulate to the jurisdiction of this Court solely with respect to the

provisions of the Order.


 Date: _________________




(Signature)




                                           2
